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                                                 #:1236

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12
13                                   UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
14
15 BARRY TUBB, an individual,                               Case No. 2:24-cv-01417-GW-BFMx
16                  Plaintiff,                              STIPULATED REQUEST TO
17                                                          DISMISS ENTIRE ACTION WITH
              vs.                                           PREJUDICE AND ENTER
18 PARAMOUNT PICTURES                                       JUDGMENT IN FAVOR OF
   CORPORATION, a Delaware                                  DEFENDANT
19 corporation,
20                                                          [[Proposed] Judgment Concurrently
                                        Defendant.          Submitted]
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                                                            Action Filed: February 21, 2024
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     STIPULATED REQUEST TO ENTER JUDGMENT
     4909-6241-4414v.1 0012079-000393
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                                             #:1237

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     STIPULATED REQUEST TO ENTER JUDGMENT
     4909-6241-4414v.1 0012079-000393
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                                             #:1238

 1            IT IS HEREBY STIPULATED by and between the Parties, through their
 2 counsel, subject to this Court’s approval, as follows:
 3            1.        On June 2, 2025, this Court entered an Order (Dkt. No. 78), which
 4 incorporated and made final its prior tentative rulings of June 28, 2024, and January
 5 29, 2025 (Dkt. Nos. 44, 72) (collectively, “Final Order”), and which granted with
 6 prejudice Defendant’s Motion To Dismiss Plaintiff’s federal claims under Federal
 7 Rule of Civil Procedure 12(b)(6), and granted with prejudice Defendant’s Special
 8 Motion To Strike Plaintiff’s state law claims under California Code of Civil
 9 Procedure § 425.16 (“SLAPP Motion”).
10            2.        The Parties agree that this Court’s Final Order disposes of all
11 Plaintiff’s claims in this action, which therefore should be dismissed with prejudice.
12            3.        On June 12, 2025, this Court entered an Order pursuant to a stipulation
13 of the parties setting July 16, 2025, as the deadline for Plaintiff to file an appeal
14 from the June 2, 2025 Order, and for Defendant to file a motion or application
15 seeking recovery of fees and costs.
16            4.        The Parties subsequently have agreed to a resolution in which Plaintiff
17 will forgo any appeal, and Defendant will forgo recovery of attorneys’ fees and
18 costs, with no payments in any amount being made by either Party. As part of that
19 resolution, set forth in a written settlement agreement, the Parties have agreed to the
20 dismissal with prejudice of this action, and a stipulated judgment in favor of
21 Defendant Paramount Pictures Corporation, with both Parties to bear their own fees
22 and costs, subject to the Court’s approval.
23            WHEREFORE, the parties respectfully submit this Stipulation and
24 [Proposed] Order to the Court for its approval.
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     STIPULATED REQUEST TO ENTER JUDGMENT
     4909-6241-4414v.1 0012079-000393
Case 2:24-cv-01417-GW-BFM               Document 81 Filed 06/20/25      Page 4 of 4 Page ID
                                             #:1239

 1 DATED: June 20, 2025                            DAVIS WRIGHT TREMAINE LLP
                                                   KELLI L. SAGER
 2                                                 DAN LAIDMAN
                                                   SAM F. CATE-GUMPERT
 3
                                                   By:          /s/ Kelli L Sager
 4                                                                  Kelli L. Sager*
 5                                                       Attorneys for Defendant
                                                         PARAMOUNT PICTURES
 6                                                       CORPORATION
 7 *Pursuant to Local Rule 5-4.3.4(2), the filer attests that all signatories listed, and on
   whose behalf the filing is submitted, concur in the filing’s content and have
 8 authorized the filing.
 9
10 DATED: June 20, 2025                            THE CASAS FIRM, P.C.
                                                   JOSEPH N. CASAS
11                                                 DENNIS POSTIGLIONE
12                                                 By:         /s/ Dennis Postiglione
                                                                   Dennis Postiglione
13
                                                         Attorneys for Plaintiff
14                                                       BARRY TUBB
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     STIPULATED REQUEST TO ENTER JUDGMENT
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